         Case 3:22-cr-00213-ADC Document 225 Filed 06/30/22 Page 1 of 2
                                                                       Hearing set for 11:00 AM
                                                                       Hearing start 11:35 AM
                                                                       Hearing ended 12:03 PM



                              UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF PUERTO RICO



MINUTES OF PROCEEDINGS:

HONORABLE AIDA DELGADO COLON, U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Cristina Dones Taylor                       Date: June 30, 2022
Court Reporter: Amy Walker                                    Case CR-22-213 (ADC)


                                             Attorneys:

UNITED STATES OF AMERICA                     Vance Eaton
        v.

1 Carlos Manuel Cotto-Cruz                   Francisco J. Adams-Quesada, Esq.
2 Hector Santiago Medina                     Allan Rivera, Esq.
3 Luis Garcia Hernandez                      Javier Micheo, Esq.
4 Jermaine Calderon-Echevarria               Luis Rivera-Rodriguez, Esq. substituted by Allan Rivera, Esq.
5 Victor Isaac Del Valle-Rivera              Jennie M. Espada-Ocasio, Esq.
7 Jose Luis Castro-Vazquez                   Saul Roman-Santiago, Esq. substituted by Francisco Adams, Esq.
8 Juan Rodriguez-Garcia                      Miguel Oppenheimer, Esq.
14 Gabriel Casanova-Yales                    Richard O. Dansoh, Esq.
18 Ruben Figueroa-Rodriguez                  Diego H. Alcala-Laboy, Esq.
21 Pablo De la Cruz-Arias                    Antonio L. Bisbal-Bultron, Esq. substituted by Diego Alcalá, Esq.
22 Pedro Victor Nieves-Hernandez             Alejandro Sanfeliu-Vera, Esq.
23 Mario Alexander Rivera                    Ian Carlos Garcia-Ferreras, Esq.
24 Carlos A. Benitez-Rolon                   Yassmin Gonzalez-Velez, Esq. substituted by Jorge Gerena, Esq.
25 Jesus David Maldonado-Morales             Jose Agustin Arce-Diaz, Esq.
26 Yan Carlos De Jesus-Ortiz                 Jorge Luis Gerena-Mendez, Esq.
27 Arsenio Laborde-Figueroa                  Laura Maldonado-Rodriguez, Esq. substituted by Francisco Adams, Esq.
28 Omar Quiles-Arce                          Javier A. Morales-Ramos, Esq.
29 Juan Francisco Torres-Huertas             Giovanni Jose Canino-Sanchez, Esq.
31 Kevin Jomar Maldonado-Rosa                Carlos Xavier Irizarry-Rivera, Esq.
32 Alex Darnel Rodriguez-Huertas             Thomas Trebilcock-Horan, Esq.
33 Lino Acosta-Lopez                         Joseph A Boucher-Martinez. Esq.
34 Kristian Damian Martinez-Cruz             Ovidio E. Zayas-Perez, Esq.
35 Angel Rafael Torres-Reyes                 Ramon M Gonzalez-Santiago, Esq.
36 Orlando Jose Rodriguez-Lara               Luis A. Guzman-Dupont, Esq.
38 Chris Anthony Jimenez-Ortiz               Rosa Ivette Bonini-Laracuente, Esq.
40 Keyshla Michelle Rodriguez-Acevedo        Allan A. Rivera-Fernandez, Esq.
41 Kelvin Joel Torres-Flores                 Ian Teron-Molina, Esq.




                                                                                            Page 1|2
            Case 3:22-cr-00213-ADC Document 225 Filed 06/30/22 Page 2 of 2



Case called for Status Conference.

The Government informed the Court that discovery is luminous, the same will be made available to the defense
next week. After discovery is provided, plea negotiations will begin. They requested 90 days.

Defense counsel await the production of discovery to review with their clients.

 (5) Victor Isaac Del Valle-Rivera: counsel informed the Court as to the defendant’s medical conditions and lack of
 treatment at MDC. The Court ordered the WARDEN of MDC Guaynabo and/or the medical personnel to file a
 written report within 10 days as to the medical treatment being afforded to the defendant.

 (29) Juan Francisco Torres-Huertas: Counsel informed the Court that the defendant is currently awaiting trial for
 murder in a state case. The matter will be discussed to determine if it will be considered relevant conduct and how it
 will impact negotiations.


The Court inquired from the Government as to the fugitives. The Government stated that
efforts are being made to arrest them. A detailed report shall be provided in the next
conference. An order tolling the STA will be filed as well as a scheduling management order.
Counsel do not have to file motions to allow substitution as long as counsel that is present can
provide information as to the status of the case.




                                                                  Cristina Dones-Taylor
                                                                  Courtroom Deputy Clerk for
                                                                  District Judge Aida M. Delgado Colón




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